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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION
______________________________________________________________________________

IN RE:                              )    Bankruptcy No. 19-01270
                                    )    Chapter 7
Jacob Danial,                       )
                                    )
                                    )
            Debtor.                 )
______________________________________________________________________________

     CONSENT ORDER ON Withdrawal of Petition; Debtor’s Dismissal of the Case

                                  Without Prejudice

         Now upon consideration of the Withdrawal of Petition; Debtor’s Dismissal

of the Case Without Prejudice filed herein by Debtor on October 4, 2019 (DN16

and DN17) (the “Motion”), and the Objection to Withdrawal of Petition; Debtor’s

Dismissal of the Case Without Prejudice filed herein on behalf of WFRBS 2013-C18

Third Avenue SE, LLC, its successors and assigns (“Secured Creditor”) on October

10, 2019 (DN 21), having reviewed the file, and noting proper service of the

Motion on interested parties, and further noting that the objections(s), if any,

filed to the Motion have been withdrawn in consideration of entry of this Order,

and having been fully advised in the premises, and having heard the parties

during the October 30, 2019 hearing on the Motion (the “Hearing”), the Court

finds that the relief sought by the Debtor in the Motion should be granted. In

accordance therewith, it is

         ORDERED, ADJUDGED AND DECREED that the Motion is sustained, the

bankruptcy case filed by Debtor is hereby dismissed, with a bar to re-filing to the

date that is 180 days from the date of entry of this Order.
Dated and Entered:
November 1, 2019


                                         UNITED STATES BANKRUPTCY JUDGE
# 3121138
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Prepared and submitted by:


 /s/ Mark D. Walz_____________
Mark D. Walz (IS9999605)
Davis, Brown, Koehn, Shors & Roberts, P.C.
4201 Westown Parkway, Suite 300
West Des Moines, Iowa 50266
(515) 246-7898
mark.walz@lawiowa.com

Robert Hammeke (pro hac vice)
DENTONS US LLP
4520 Main Street, Suite 1100
Kansas City, Missouri 64111
Telephone: (816) 460-2400
Facsimile: (816) 531-7545
robert.hammeke@dentons.com

ATTORNEYS FOR WFRBS 2013-C18 THIRD AVENUE SE, LLC


Secured Creditor representation of no objection by:

Renee K. Hanrahan
P.O. Box 1088
Cedar Rapids, IA 52406

L. Ashley Zubal
U.S. Trustee
Federal Building
210 Walnut Street, Rm 793
Des Moines, IA 50309-2108

Mark A. Critelli
2924 104th Street
Urbandale, IA 50322

Attorney for Debtor




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Christopher K. Loftus
SIMMONS PERRINE MOYER BERGMAN PLC
115 Third Street SE, Suite 1200
Cedar Rapids, IA 52401

Attorneys for Aspect, Inc.

H. Raymond Terpstra
Terpstra & Epping
3600 First Avenue NE, Suite 101
Cedar Rapids, IA 52402

Attorneys for NAI Optimum, Receiver




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